Case: 1:17-md-02804-DAP Doc #: 1749-22 Filed: 06/28/19 1 of 7. PageID #: 52294




                          Exhibit 18
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
                               1749-22 Filed: 06/28/19 Confidentiality
                                        to Further     2 of 7. PageID #: 52295
                                                                            Review

    1                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
    2                             EASTERN DIVISION
    3
         IN RE:     NATIONAL PRESCRIPTION           ) No. 17-md-2804
    4    OPIATE LITIGATION                          ) MDL NO. 2804
                                                    )
    5    APPLIES TO ALL CASES                       ) Hon. Dan A. Polster
                                                    )
    6
    7             HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    8                             CONFIDENTIALITY REVIEW
    9
                    VIDEO DEPOSITION OF KEVIN VORDERSTRASSE
   10
                                  December 5, 2018
   11                                  9:12 a.m.
   12
   13
   14             Reporter:      John Arndt, CSR, CCR, RDR, CRR
                                 CSR No. 084-004605
   15                               CCR No. 1186
   16
   17
   18
   19
   20
   21
   22
   23
   24

  Golkow Litigation Services                                               Page 1
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
                               1749-22 Filed: 06/28/19 Confidentiality
                                        to Further     3 of 7. PageID #: 52296
                                                                            Review

    1    smallest the team has been four.

    2             Q.      So in other words, there were seven or

    3    eight people at its peak that were primarily

    4    responsible for marketing Mallinckrodt's generic

    5    opioids?

    6             A.      Seven or eight people who were primarily

    7    responsible for direct contact with wholesaler and

    8    pharmacy chain customers and negotiating agreements

    9    with those customers.

   10             Q.      So -- and thank you for that answer.             So

   11    then is it fair to say when we're talking about

   12    generics the primary way in which Mallinckrodt was able

   13    to gain the market share that we were discussing before

   14    was through its negotiations and communications with

   15    distributors and pharmacies?

   16             A.      So in general terms, generic products,

   17    whether opioid or non-opioid, are sold primarily based

   18    upon price and also based upon quality and service, so

   19    ability to supply, ability to supply consistently with

   20    high-quality product is essential for generic

   21    companies, but as near commodity products, ultimately

   22    the price is often a deciding -- a key deciding factor

   23    for wholesalers and pharmacy chains.

   24             Q.      And so with respect to the price,

  Golkow Litigation Services                                            Page 139
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
                               1749-22 Filed: 06/28/19 Confidentiality
                                        to Further     4 of 7. PageID #: 52297
                                                                            Review

    1    isolating that separate and apart from quality and

    2    service, was there any type of marketing done to --

    3    directly to the pharmacies or distributors with respect

    4    to Mallinckrodt products, or was it simply a price that

    5    Mallinckrodt set and you had distributors essentially

    6    take it or leave it?

    7             A.      The prices for our products were always

    8    negotiated between Mallinckrodt and the distributor or

    9    wholesaler or the pharmacy chain.

   10             Q.      And as you alluded to earlier, the primary

   11    responsibility for the negotiation of these prices

   12    rested with the national account managers; is that

   13    correct?

   14             A.      National account managers were primarily

   15    responsible for the negotiation effort.              The product

   16    management team was responsible for reviewing and

   17    approving any prices that were offered and processing

   18    that price through our contracting systems.

   19             Q.      And how did Mallinckrodt divide up these

   20    negotiations with distributors and wholesalers?                 In

   21    other words, let me ask it a different way.                Was there

   22    any distinction done by region with respect to the

   23    negotiations Mallinckrodt had with respect to prices

   24    vis-à-vis the distributors and the pharmacies?

  Golkow Litigation Services                                            Page 140
Case: 1:17-md-02804-DAP Doc #: 1749-22 Filed: 06/28/19 5 of 7. PageID #: 52298
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
                               1749-22 Filed: 06/28/19 Confidentiality
                                        to Further     6 of 7. PageID #: 52299
                                                                            Review

    1    you were manufacturing?          Is that fair to say?

    2             A.      Well, we communicated about our business

    3    relative to how we ran the business, how we managed the

    4    business, to help customers understand that the

    5    products that they purchased from us would meet the

    6    quality standards and would be supplied at the time

    7    frame that they needed that product.             So if a

    8    wholesaler placed an order with us, we wanted them to

    9    be confident that they were going to get that order

   10    when they wanted it.

   11             Q.      Did Mallinckrodt do any marketing with

   12    respect to the risks of its generic marketing or

   13    generic opioid products?

   14             A.      For any product-specific marketing

   15    materials that we put together for our generic

   16    products, opioid or not, any warning information, risk

   17    information that was included in the FDA-approved

   18    labeling materials was included in the marketing

   19    materials, and those materials were always reviewed to

   20    ensure that they were current.

   21             Q.      And outside of the FDA-approved labeling

   22    materials, was there any other additional marketing

   23    materials that Mallinckrodt provided with respect to

   24    its generic products?

  Golkow Litigation Services                                            Page 144
Case: 1:17-md-02804-DAP
   Highly   ConfidentialDoc-#:Subject
                               1749-22 Filed: 06/28/19 Confidentiality
                                        to Further     7 of 7. PageID #: 52300
                                                                            Review

    1             A.      Mallinckrodt never provided

    2    product-specific marketing materials for our generic

    3    products which contained any information other than

    4    what was approved relative to the product or what was

    5    specific to our company.

    6             Q.      Turning back to the sales reps that

    7    Mallinckrodt utilized for purposes of its brand

    8    products, approximately how many sales reps did

    9    Mallinckrodt employ over the relevant time period with

   10    respect to its branded opioids?

   11             A.      So relevant to branded opioids, at the

   12    smallest that sales team was approximately 50 reps and

   13    at its largest was about 200.

   14             Q.      And earlier we talked about Exalgo.

   15    Approximately how many reps did Mallinckrodt utilize

   16    with respect to marketing Exalgo from the 2009 through

   17    2014 -- or was it 2015 that it discontinued?

   18             A.      I believe 2014 was when we discontinued

   19    marketing efforts.

   20             Q.      So let me start so the record is clear.

   21    So from the 2009 to 2015 time period how reps -- sales

   22    reps did Mallinckrodt utilize to market Exalgo?

   23                     MR. TSAI:     I'm going to object to the

   24    form.

  Golkow Litigation Services                                            Page 145
